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AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:21-M -01595(1)
                                                            §
(1) Marlon Josue Leon-Melgar                                §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about September 11, 2021 in Val Verde county, in the WESTERN

DISTRICT OF TEXAS defendant(s) did, Marlon Josue LEON-Melgar, an alien, entered, or was found in the

United States at or near Del Rio, Texas, after having been denied admission, excluded, deported, or removed

from the United States through Valley International Airport on 01/06/2021, and not having obtained the

express consent of the Secretary of the Department of Homeland Security or the Attorney General of the

United States to reapply for admission thereto. Defendant being voluntarily in the United States unlawfully ,

a felony,



in violation of Title             8            United States Code, Section(s)     1326(a)(1)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "The defendant, Marlon Josue LEON-Melgar, was arrested by Border Patrol Agents, on

September 11, 2021 for being an alien illegally present in the United States.

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           De Milio, Gregory D.
                                                                           Border Patrol Agent

09/14/2021                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                                WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                              Case Number: DR:21-M -01595(1)

        (1) Marlon Josue Leon-Melgar

Continuation of Statement of Facts:

Investigation and records of the Bureau of Citizenship and Immigration Services reveal the defendant was
previously deported from the United States on 01/06/2021 through Valley International Airport. The defendant was
found in the Western District of Texas without having obtained permission from the Secretary of Homeland
Security or the Attorney General of the United States to re-apply for admission after being deported. The defendant
is unlawfully present in the United States. On September 12, 2021, at approximately 1317 hours, a subject that was
being held at the Del Rio Station Processing Room/Cell 169 began striking the cell door and window with his right
hand causing the window to shatter."




______________________________
Signature of Judicial Officer                                  Signature of Complainant
